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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                           SOUTHERN DIVISION


UNITED STATES OF AMERICA                                           RESPONDENT

VS.                                   CIVIL ACTION NO. 1:05cv21-DCB-JCS
                                              CRIMINAL NO. 1:03cr13-DCB

MELVIN EUGENE WILLARD                                              PETITIONER


                      MEMORANDUM OPINION AND ORDER

      This cause is before the Court on the petitioner’s Motion to

Set Aside, Correct and Reverse Waiver to Contest the Conviction and

or Sentence [docket entry no. 1 in civil action 1:05cv21-DCB, and

docket entry 217 in criminal action 1:03cr13-DCB]. Having reviewed

the motion, applicable statutory and case law, and being otherwise

fully advised in the premises, the Court finds as follows:

                     FACTUAL AND PROCEDURAL HISTORY

      Melvin Willard was sentenced to 87 months incarceration on

January 14, 2004, after he entered a plea of guilty on a count of

conspiracy to distribute a controlled substance.           That guilty plea

was   based   upon   a   negotiated   agreement    with    the   government,

memorialized by a Memorandum of Understanding (“MOU”).             As part of

the agreement set forth in the MOU the defendant agreed to waive

his right to appeal and his right to seek relief through collateral

proceedings such as a § 2255 motion.

      On January 11, 2005, Willard filed the present motion pursuant

to 28 U.S.C. § 2255.      The petitioner raises three bases of relief

within that motion.      First, Willard claims that the waiver of his
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ability to seek post-conviction relief should not preclude the

present   motion    inasmuch     as   he    was    under     the     influence       of

intoxicating     medications     at   the   time      he   entered       into      that

agreement.       Second,   the    petitioner        claims     that     the     Court

erroneously enhanced his sentence based upon evidence considered in

contravention of Blakely [sic]1 and Apprendhi.                     Lastly, Willard

claims that he was denied his Sixth Amendment right to effective

assistance of counsel because his attorney failed to object to the

presentence report.

                                 DISCUSSION

     To obtain post-conviction relief under 28 U.S.C. § 2255, a

petitioner attacking his conviction or sentence must prove by a

preponderance of the evidence that his sentence was imposed in

violation of the United States Constitution or laws, that the court

lacked jurisdiction to impose such a sentence, that the sentence

exceeded the maximum authorized by law, or that the sentence is

otherwise subject to collateral attack.2             See 28 U.S.C. § 2255.


     1
      The government presumes that the petitioner is referring to
the Booker/Fanfan line of cases.
     2
              A prisoner in custody under sentence of court
             established by Act of Congress claiming the
             right to be released upon the ground that the
             sentence was imposed in violation of the
             Constitution or laws of the United States, or
             that the court was without jurisdiction to
             impose such sentence, or that the sentence was
             in excess of the maximum authorized by law, or
             is otherwise subject to collateral attack, may
             move the court which imposed the sentence to
             vacate, set aside or correct the sentence.
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        The government contends that Willard’s § 2255 motion should be

denied because he waived all rights to pursue such collateral

relief in his plea agreement.          The MOU provides:

             Defendant, knowing and understanding all of
             the facts set forth herein, including the
             maximum possible penalty that could be
             imposed, and including his right to appeal the
             sentence imposed as provided in Section 3742,
             Title 18, United States Code, hereby expressly
             waives the right to appeal the conviction
             and/or sentence imposed in this case, or the
             manner in which that sentence was imposed on
             the grounds set forth in Section 3742, or any
             ground whatsoever, and expressly waives the
             right to contest the conviction and/or
             sentence or the manner in which the sentence
             was imposed in any post-conviction proceeding,
             including but not limited to a motion brought
             under Section 2255, Title 28, United States
             Code . . . . Defendant waives these rights in
             exchange    for   the    recommendations    and
             concessions   made   by   the   United   States
             Attorney’s Office in this plea agreement.

MOU, at ¶15.

     If the agreement was knowing, intelligent and voluntary,

Willard has waived his right to seek post-conviction relief.                   See

United States v. Wilkes, 20 F.3d 651, 653-54 (5th Cir. 1994).                  The

MOU, if enforceable, would thus act to bar both the petitioner’s

claim that his counsel was ineffective as well as the assertion

that his sentence was impermissibly enhanced. See United States v.

Glinsey, 209 F.3d 386, 392 (5th Cir. 2000) (voluntary decision to

plead    guilty   waived   all    nonjurisdictional      defects,     including



28 U.S.C. § 2255
                                      -3-
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“claims of ineffective assistance of counsel except insofar as the

ineffectiveness   is   alleged   to   have   rendered    the    guilty       plea

involuntary”); United States v. Hoctel, 154 F.3d 506, 507 (5th Cir.

1998) (“As a general rule, a voluntary, unconditional guilty plea

waives all nonjurisdictional defects in the proceedings against the

defendant”); United States v. Wilkes, 20 F.3d 651, 653-54 (5th Cir.

1994) (finding that defendant was bound by his plea agreement and

rejecting his ineffective assistance of counsel claim).

     Therefore, the Court must first address Willard’s contention

that he was under the influence of intoxicating medicines at the

time that he accepted the plea agreement with the government to

determine whether or not he voluntarily and intelligently waived

his right to challenge his conviction via the instant petition.

For a plea to be voluntary, “[i]t is axiomatic” that defendant be

competent to proceed. United States v. Masthers, 539 F.2d 721, 725

(D.C. Cir. 1976).

     The government asserts that, “[a]t the time of his plea . . .

[Willard] asserted under oath that he was not under the influence

of medications and was competent to plead guilty and understood the

terms of his MOU.”      Government’s Response to Motion to Vacate

Sentence, at 4.     The Court’s review of the transcript bears out

this statement by the government.3      On September 16, 2003, during


     3
      In its response, the government asserts that Willard stated
under oath that he was not under the influence of medications and
that he understood the terms of his plea agreement. It did not
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his plea hearing, the following colloquy was held between the Court

and the defendant:

     Q.   How long have you been in custody?

     A.   A year.     Well, 10 months.

     Q.    I assume you have not ingested any alcoholic
     beverages within the past 24 hours, have you?

     A.   No, sir.

     Q. Have you ingested any drugs of any type, prescription
     or nonprescription, within the past 24 hours?

     A.   No, sir.

     Q. Are you under any doctor's orders to take any drugs
     that you have not taken according to those orders?

     A.   No, sir.

     Q.   I ask you these questions to be sure that you're
     mentally competent, you're able to understand what I'm
     saying to you, to converse with your counsel, the
     Honorable Calvin Taylor. Do you tell me you're mentally
     competent, Mr. Willard?

     A.   Yes, sir.

     Q.   Do you know what that term means?

     A.   Sure do.

     Q. At the time of the alleged offense, were you able to
     distinguish right from wrong?

     A.   Yes, sir.


back up this statement with a reference to the record and failed to
include an exhibit containing this statement with its response.
While it is certainly the common practice for courts to inquire as
to a defendant’s mental state before accepting a plea, that does
not necessarily mean that such an inquiry took place in this case.
However, the Court, on its own accord, acquired and reviewed the
transcript from the hearing and was able to verify the government’s
assertion.
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     Q. It appears from the docket sheet that you're charged
     with conspiracy to possess with intent to distribute a
     controlled substance, and you tell me that at that time
     you were able to distinguish right from wrong, were you
     not?

     A.     Yes, sir.

     THE COURT: How long have you represented this defendant,
     Mr. Taylor?

     MR. TAYLOR:       Judge, I think that this month would make a
     year.

     THE COURT:         Do    you   raise      any    question        about    his
     competency?

     MR. TAYLOR:       No, sir.

     THE COURT:      Does the government, Mr. Meynardie?

     MR. MEYNARDIE:       No, Your Honor.

     Q. I will find you competent today, Mr. Willard. Your
     answers are very crisp and to the point and responsive to
     my questions. And I also find you competent at the time
     of the offense.

     The    Court,   therefore,         made   a   specific     finding       that   the

petitioner was competent on the day of his plea hearing.                      The terms

of his agreement were explained to Willard, and he agreed to abide

by those terms when he entered his plea of guilty.                            Though he

claims now that he was “not aware of the pro’s and con’s of [the]

agreement[,]”    the    petitioner       has   offered      nothing      which    would

convince the Court that his plea was not knowing and voluntary.

Willard’s    statements      at   his    hearing      are   presumed      valid,     and

subsequent conclusory allegations to the contrary do not warrant

habeas relief.    See Blackledge v. Allison, 431 U.S. 63, 74 (1977);

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See   also   Oyague   v.   Artuz,   393    F.3d    99,   106       (2d   Cir.   2004)

(rejecting petitioner’s § 2254 claim that his plea was unknowingly

made due to the effects of a presecription medication because of

the trial court’s determination at the plea hearing that the

defendant was competent); Hoffman v. Jones, 53 Fed. Appx. 342 (6th

Cir. 2002) (affirming denial of § 2254 petition claiming that the

defendant was under the influence of drugs when he pled guilty

because the record failed to reflect any signs of incompetence);

McMullen v. United States, 52 F.3d 330 (8th Cir. 1995) (holding

that petitioner’s plea was knowing and voluntary because he failed

to produce evidence to support his contention that he was under the

influence of a mind-altering drug at his plea hearing). Therefore,

Willard has waived his right to seek post-conviction relief through

the present petition and this action must be dismissed.

                                CONCLUSION

      For the foregoing reasons, the petitioner’s Motion to Set

Aside, Correct and Reverse Waiver to Contest the Conviction and or

Sentence is not well-taken and should be denied.                   Accordingly,

      IT IS HEREBY ORDERED that Petitioner Melvin Eugene Willard’s

Motion to Set Aside, Correct and Reverse Waiver to Contest the

Conviction    and   or Sentence     [docket   entry       1]   in    civil action

1:05cv21-DCB is DENIED;

      A separate judgment will be entered by the Court in accordance

with Rule 58 of the Federal Rules of Civil Procedure.


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SO ORDERED, this the 20th day of April, 2006.




                                        S/DAVID BRAMLETTE
                                        UNITED STATES DISTRICT JUDGE




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